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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:21−cr−00698
                                                        Honorable Robert W. Gettleman

                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 28, 2023:


        MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Ronald Molo's Motion To Expand Conditions Of Release [59] is granted. Defendant's
bond conditions are modified to allow defendant to travel with his family to Lexington,
Kentucky, between June 30, 2023 through July 4, 2023. Defendant is directed to provide
Pretrial Services with this itinerary including where he will be staying and contact Pretrial
Services upon his return. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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